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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Greenbelt Division)

GENESIS OFFICE SYSTEMS,                             *
INCORPORATED
                                                    *
       Plaintiff
                                                    *
v.                                                          Civil Action No. 14-cv-2704 PJM
                                                    *
PNC BANK, NATIONAL ASSOCIATION
                                                    *
       Defendant

*      *       *      *        *     *       *      *       *      *       *      *       *

                      MOTION FOR SUMMARY JUDGMENT
               OF DEFENDANT, PNC BANK, NATIONAL ASSOCIATION

       Defendant, PNC Bank, National Association (“PNC Bank”), by its undersigned counsel,

moves pursuant to Federal Rule of Civil Procedure 56 for the entry of summary judgment with

respect to all claims asserted in the Complaint, filed by Plaintiff, Genesis Office Systems, Inc.,

for the reasons set forth in its Memorandum in Support of Motion to Dismiss, filed and

incorporated herewith. There are no material facts in dispute and PNC Bank is entitled to

judgment as a matter of law.



                                             Respectfully submitted,

                                             /s/ Michael S. Barranco
                                             Michael S. Barranco, Bar No. 04036
                                             TREANOR POPE & HUGHES, P.A.
                                             500 York Road
                                             Towson, Maryland 21204
                                             (410) 494-7777
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                                             Attorney for Defendant,
                                             PNC Bank, National Association
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 9, 2015, a copy of the Motion for Summary

Judgment was served via EM/ECF and/or first class mail, postage prepaid, to:

       Rickey Nelson Jones, Esquire
       Law Offices of Reverend Rickey Nelson Jones
       3rd Floor--Suite 5
       1701 Madison Avenue
       Baltimore, Maryland 21217

       Attorney for Plaintiff

                                           /s/ Michael S. Barranco
                                           Michael S. Barranco




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